Case 2:21-cv-02803-RGK-MAR Document 17 Filed 04/06/21 Page 1of5 Page ID #:130

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-02803-RGK-MAR Date April 6, 2021

 

 

Title John Doe v. United States of America, et al

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Plaintiff's Ex Parte Application for

Temporary Restraining Order and Order to Show Cause RE: Preliminary
Injunction [DE 7]

I. INTRODUCTION

On March 31, 2021, an individual proceeding under the fictitious name John Doe (“Plaintiff”) !
filed a complaint against (1) the United States of America, (2) Tracy L. Wilkinson in her official
capacity as Acting United States Attorney for the Central District of California, and (3) Kristi Koons
Johnson in her official capacity as the Assistant Director in Charge of the Los Angeles Field Office of
the FBI (collectively, “the Government”). Plaintiff asserts claims for Return of Property pursuant to
Rule 41(g) of the Federal Rules of Criminal Procedure, and for violation of Plaintiffs rights under the
Fourth and Fifth Amendments of the Constitution.

Plaintiff's claims arise from the Government’s allegedly unlawful seizure and search of
Plaintiff's personal property which was located in three safety deposit boxes on the premises of non-
party US Private Vaults.

Presently before the Court is Plaintiff's Ex Parte Application for Temporary Restraining Order,
(“TRO Application”) (ECF No. 7), whereby Plaintiff requests a court order enjoining the Government
from taking various actions with respect to property seized from US Private Vaults, among other relief.
For the reasons that follow, the Court DENIES Plaintiff's TRO Application.

 

1 Plaintiff filed this lawsuit under a fictious name, and makes no representations about Plaintiffs

gender, to protect herself or himself from the risk of criminal prosecution, harassment, retaliation, and
embarrassment. (Complaint § 5, ECF No. 1).

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 5
Case 2:21-cv-02803-RGK-MAR Document 17 Filed 04/06/21 Page 2of5 Page ID #131

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-02803-RGK-MAR Date April 6, 2021

 

 

Title John Doe v. United States of America, et al

 

Il. FACTUAL BACKGROUND

Unless otherwise noted, the following factual background is drawn from Plaintiffs complaint:

Non-party US Private Vaults (““USPV”) offers its customers a unique service. The company,
located at a strip mall in Beverly Hills, California,” rents safe deposit boxes. But USPV’s offerings,
designed to provide customers with increased privacy and security, differ from those available at a
typical bank in several material ways. First, USPV identifies its customers through encrypted biometric
information—an iris scan—and does not use other personal identifying information related to its
customers. Second, USPV does not maintain keys to its customers’ boxes. Customers maintain all keys
to their boxes, and can access the vault containing their boxes only through an iris scan or biometric
hand geometry scan. Third, USPV offers 24/7 monitoring by the ADT security company as well as
onsite motion detectors, heat sensors, and other sophisticated security measures to detect the presence of
intruders after regular business hours. Finally, USPV offers insurance for each safe deposit box up to
$500,000 per box.

USPV has between 600 and 1000 safe deposit boxes which it rents to hundreds of different
customers. Plaintiff rents three of those boxes, where Plaintiff keeps certain valuable items including
jewelry, currency, and bullion. (Decl. of Benjamin N. Gluck (“Gluck Decl.”) § 2, ECF No. 7-1).

USPV’s business model attracted the Government’s attention. A grand jury indicted USPV for
conspiring with its customers to launder money, distribute drugs, and structure financial transactions to
avoid currency reporting requirements. (Government’s Opp. to Pl.’s TRO Application at 2, ECF No.
15). From March 22, 2021 through March 26, 2021, federal law enforcement agents acting at the
direction of the United States Attorney’s Office for the Central District of California (the “USAO”)
conducted a search of USPV and seized every safe deposit box contained in the facility. The
Government maintains that it seized all the boxes at USPV and conducted an inventory search of the
contents of each box pursuant to a sealed criminal seizure warrant (“the warrant’). (/d. at 6).

On March 24, 2021, counsel for Plaintiff requested a copy of the warrant and the return of
Plaintiff's property. But the Assistant U.S. Attorney in charge of the investigation refused to provide a
copy of the warrant unless counsel disclosed Plaintiff's name, which was unknown to USPV and the
Government.

 

2 (TRO Application at 4, n.5).

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 2 of 5

 
Case 2:21-cv-02803-RGK-MAR Document 17 Filed 04/06/21 Page 3of5 Page ID #:132

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-02803-RGK-MAR Date April 6, 2021

 

 

Title John Doe v. United States of America, et al

 

Plaintiff alleges on information and belief that the Government intends to refuse the return of
property to any USPV box holder who refuses to waive his or her Fifth Amendment right against self-
incrimination. Specifically, Plaintiff alleges that the Government intends to subject every box holder that
comes forward to claim his or her property to a criminal investigation. Only if Plaintiff (and other box
owners) can convince the USAO that they legally obtained their property will the Government return it
to them. Thus, for Plaintiff to vindicate his or her Fourth Amendment right to be free from unreasonable
searches and seizures, Plaintiff must forego his or her Fifth Amendment right against self-incrimination.

Since March 26, 2021, USPV’s Beverly Hills storefront has been closed. Affixed to the door is a
sign that bears the seal of the FBI and states: “Please go to the following link to initiate a claim for your
US Private Vaults box: forms.fbi.gov/uspvclaims|.|” (Compl. § 15). The website, in turn, states: “To
make a claim for property stored at U.S. Private Vaults in Beverly Hills, California, please provide the
following information. An FBI agent will contact you for additional details.” Below this statement is a
form that requires a claimant to provide his or her first name, middle name, last name, and “best contact
number.” (/d. § 16).

To date, Plaintiff's property remains in the Government’s possession. Though Plaintiff's
property is not contraband, Plaintiff has no possible method to recover the property seized by the
Government unless Plaintiff subjects herself or himself to criminal investigation by participating in the
claims procedure prescribed at forms.fbi.gov/uspvclaims.

It. JUDICIAL STANDARD

While a preliminary injunction is intended to preserve the status quo pending a judgment on the
merits, a TRO is intended to preserve the status quo only until a preliminary injunction hearing can be
held. Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 422 (4th Cir. 1999) (citing Granny
Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cty., 415 U.S.
423, 439 (1974). “Consequently, [TROs] are of limited duration, not—like preliminary injunctions—of
indefinite duration.” Jd. Also, where a TRO may be granted without notice to the adverse party under
limited circumstances, a preliminary injunction cannot be granted without notice. Fed. R. Civ. P. 65(a)—

(b).

Despite these differences in purpose and procedure, the standard for a TRO is “substantially
identical” as the standard for a preliminary injunction. See Stuh/barg Int’l Sales Co., Inc. v. John D.
Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). To obtain a TRO or a preliminary injunction, the
moving party must show: (1) a likelihood of success on the merits; (2) a likelihood of irreparable harm
to the moving party in the absence of preliminary relief; (3) that the balance of equities tips in favor of
the moving party; and (4) that an injunction 1s in the public interest. Winter v. Natural Res. Def. Council,

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 3 of 5
Case 2:21-cv-02803-RGK-MAR Document 17 Filed 04/06/21 Page 4of5 Page ID #:133

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-02803-RGK-MAR Date April 6, 2021

 

 

Title John Doe v. United States of America, et al

 

Inc., 555 U.S. 7, 20 (2008). The court may also apply a sliding scale test, whereby the elements of the

Winter test are balanced “‘so that a stronger showing of one element may offset a weaker showing of
another.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). The moving
party has the burden of persuasion. Hi// v. McDonough, 547 U.S. 573, 584 (2006).

IV. DISCUSSION

Plaintiff requests that the Court enter a TRO to the following effect:

° The Government should make reasonably available at the search location copies of
the search warrant and do so in a manner that allows box-holders or their counsel
to obtain a copy without requiring them to disclose the box-holder’s identity.

° The Government should cease the inspection of the contents of any box over which
it does not have individualized probable cause specific to that box and a search
warrant specific to that box.

° The Government should be enjoined from instigating investigations or using in any
investigation any information it gained from inspecting the contents of boxes over
which it did not have individualized probable cause and a warrant specifically

identifying that box.

° The Government should be enjoined from advising individuals that they must
provide information to the Government as a condition to gaining return of their
property.

(TRO Application at 23). For the reasons that follow, the Court denies Plaintiff's TRO
Application.

The scope of an injunctive “remedy must be no broader and no narrower than necessary to
redress the injury shown by the [moving party].” California v. Azar, 911 F.3d 558, 584 (9th Cir. 2018).
Here, Plaintiffs alleged injury is that Plaintiff's Fourth Amendment right to be free from unreasonable
searches and seizures was violated when the Government seized and searched three USPV boxes in
which Plaintiff had property and privacy interests. Plaintiff also alleges that the Government seized and
searched not only Plaintiffs three boxes, but every other box at USPV as well. It is possible that the
Government’s seizure and search of those other boxes violated the Fourth Amendment rights of their
respective owners. But Plaintiffs requested TRO, which seeks to protect not only Plaintiff's rights but
also those of the anonymous owners of all 600 to 1,000 USPV boxes, is far broader than necessary to
provide Plaintiff with complete preliminary relief for the Government’s alleged violation of Plaintiff's
Fourth Amendment rights.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 4 of 5
Case 2:21-cv-02803-RGK-MAR Document 17 Filed 04/06/21 Page5of5 Page ID #:134

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-02803-RGK-MAR Date April 6, 2021

 

 

Title John Doe v. United States of America, et al

 

The Court notes that it has the equitable power to “tailor the scope” of preliminary injunctive
relief “to meet the exigencies of [a] particular case.” Azar, 911 F.3d at 584 (quoting Trump v. Int’]
Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017)). Here, assuming without deciding that
Plaintiff is otherwise entitled to interlocutory injunctive relief based on Plaintiff's interest in the three
USPV boxes he or she alleges to own, the Court declines to grant such relief because Plaintiff has failed
to establish, let alone allege, what specific property and which boxes belong to Plaintiff. 3

V. CONCLUSION
For the foregoing reasons, the Court DENIES Plaintiff's TRO Application.

IT ISSO ORDERED.

 

Initials of Preparer

 

 

3 The Government does not challenge Plaintiffs use of a fictitious name in its Opposition, so the

Court declines to address the propriety of Plaintiff's pseudonymous prosecution of this case at this
juncture. But to continue prosecuting this case anonymously, Plaintiff will have to demonstrate that the
“need for anonymity” outweighs “the general presumption that parties’ identities are public information
and the risk of unfairness to the opposing party.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d
1058, 1068 (9th Cir. 2000); see also id. at 1069 (““We recognize that the balance between a party’s need
for anonymity and the interests weighing in favor of open judicial proceedings may change as the
litigation progresses.”’).

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 5 of 5
